                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                      CIVL ACTION NO. 5:19-CV-051-KDB-DCK

                                                )
 EARTHKIND, LLC,                                )
                                                )
        Plaintiff/Counterclaim                  )
        Defendant,
                                                )
 v.                                             )
                                                )
 THE LEBERMUTH COMPANY INC.                     )    AMENDED CONSENT PROTECTIVE
 and ROBERT M. BROWN,                           )              ORDER
                                                )
        Defendants/Counterclaimants/            )
        Third-Party Plaintiffs.                 )
                                                )
 v.                                             )
                                                )
 KARI WARBERG BLOCK,                            )
                                                )
        Third-Party Defendant.                  )
                                                )


       WHEREAS, this 15th day of October, 2020, it is hereby STIPULATED and AGREED

between Plaintiff EarthKind, LLC, Defendants The Lebermuth Company Inc. and Robert M.

Brown, and Third-Party Defendant Kari Walberg Block (collectively “the Consenting Parties”),

and it is hereby ORDERED by the Court, that the following terms and conditions shall govern the

use and handling of Confidential Information and documents produced by the Consenting Parties

in the above-captioned matter (“this Litigation”):

       1.      Scope.   All documents and data, including electronically stored information,

produced in the course of discovery, all responses to discovery requests, all deposition testimony

and deposition exhibits, all documents produced by a non-party pursuant to a subpoena, and any

other materials which may be subject to discovery shall be subject to this Consent Protective Order

(the “Protective Order”).


      Case 5:19-cv-00051-KDB-DCK Document 56 Filed 10/19/20 Page 1 of 14
       2.      Purpose. All documents, data, and information obtained through discovery in this

Litigation shall be used only for the purposes of prosecuting or defending this Litigation.

       3.      “Confidential Information” Defined. “Confidential Information” shall mean any

and all information produced in the course of discovery or trial that a party deems in good faith to

contain proprietary, technical, financial, sensitive personal, or confidential research, development,

or commercial information that is not publicly available.

       4.      “Attorney Eyes Only Information” Defined. The term “Attorney Eyes Only

Information” or “AEO Information” shall mean any and all information produced in the course of

discovery or trial that a party deems in good faith to contain extremely sensitive, highly

confidential, or trade secret information that, if disclosed to another party or non-party, would

create a substantial risk of harm that could not be avoided by less restrictive means.

       5.      Access to Confidential Information.          Access to documents and information

designated as CONFIDENTIAL shall be restricted to the following persons:

               (a)     parties to this Litigation and the officers and employees of the parties who

                       are directly participating in the prosecution or defense of this Litigation;

               (b)     law firms of record of the parties to this Litigation and such firms’ attorneys

                       and staff;

               (c)     any person specially employed or engaged in this Litigation by a party or

                       its attorneys as an expert, consultant, or vendor;

               (d)     the Court and its personnel;

               (e)     court reporters and videographers retained to transcribe or record

                       depositions and court proceedings in this matter;

               (f)     private arbitrators and mediators;



                                                  2

      Case 5:19-cv-00051-KDB-DCK Document 56 Filed 10/19/20 Page 2 of 14
               (g)     any person who is indicated on the face of a document to have been an

                       author, addressee, or recipient of the document, or the source of the

                       information; and

               (h)     any other person as agreed upon by the parties to this action in writing or

                       authorized by the Court.

       6.      Access to Attorney Eyes Only Information.               Access to documents and

information designated as ATTORNEY EYES ONLY, including all information derived

therefrom, shall be restricted solely to the persons listed in paragraphs 5(b) through 5(h). With the

exception of the party producing a document or information designated as ATTORNEY EYES

ONLY, other parties to this Litigation are not permitted to access or review documents or

information designated ATTORNEY EYES ONLY.

       7.      Exhibit A to Protective Order. Persons identified in paragraphs 5(c) and 5(h)

above shall be provided Documents designated CONFIDENTIAL or ATTORNEY EYES ONLY

under this Protective Order only after they have agreed in writing to be bound by the terms of the

Protective Order, in the form attached as “Exhibit A.”

       8.      Form and Timing of Designation. The party wishing to designate the material

(the “Producing Party”) shall designate the whole or part of any documents as Confidential

Information or AEO Information by stamping or imprinting the words CONFIDENTIAL or

ATTORNEY EYES ONLY upon every page of the produced copies of the document at the time

of production. The party receiving the CONFIDENTIAL or AEO material shall be referred to as

the “Receiving Party.” Such designations shall be utilized in good faith and only in accordance

with the definition of Confidential Information and AEO Information as described herein.




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      Case 5:19-cv-00051-KDB-DCK Document 56 Filed 10/19/20 Page 3 of 14
       9.      Documents Produced by Non-Parties. In the case of documents produced by

non-parties pursuant to subpoena, non-parties wishing to designate such material as

CONFIDENTIAL or ATTORNEY EYES ONLY shall do so pursuant to paragraphs 3, 4, and 8 of

this Order. Any party wishing to designate such material as CONFIDENTIAL or ATTORNEY

EYES ONLY shall so notify counsel for all other parties in writing. If the party wishing to

designate such material as CONFIDENTIAL or AEO is the party who served the subpoena, then

counsel for that party shall make such designation promptly upon receipt of the subpoenaed

material, and shall thereafter promptly provide counsel for all other parties with copies of the

subpoenaed material (including the material designated as CONFIDENTIAL or AEO). Counsel

for any other party wishing to designate such material as CONFIDENTIAL or AEO shall be

allowed to examine the subpoenaed material promptly upon receipt by counsel for the subpoenaing

party and shall be allowed to designate any such material as CONFIDENTIAL or AEO prior to

the release of the subpoenaed material to any person or party. Upon such designation, counsel for

the subpoenaing party shall thereafter promptly provide counsel for all other parties with copies of

the subpoenaed material (including that material designated as CONFIDENTIAL or AEO).

       10.     Demands for Production by Non-Parties. No CONFIDENTIAL or ATTORNEY

EYES ONLY materials or portions of such materials shall be disclosed to any governmental

agency or otherwise made public, specifically including posting on the Internet, except in

compliance with the terms of this Order. In the event the Receiving Party receives a demand,

subpoena, or other request to produce any CONFIDENTIAL or ATTORNEY EYES ONLY

materials from any non-party, including any government agency or judicial body, the Receiving

Party shall immediately notify the Producing Party or Producing Non-Party of the demand,




                                                 4

      Case 5:19-cv-00051-KDB-DCK Document 56 Filed 10/19/20 Page 4 of 14
subpoena, or other request, and shall not produce the requested materials without first giving the

Producing Party or Producing Non-Party an opportunity to oppose the requested production.

       11.     Inadvertent Production. Inadvertent or unintentional production of documents

without prior designation as CONFIDENTIAL or ATTORNEY EYES ONLY shall not be deemed

a waiver, in whole or in part, of the right to designate documents. In the event that the producing

person inadvertently fails to designate discovery material as CONFIDENTIAL or ATTORNEY

EYES ONLY, it may make such a designation subsequently by notifying all parties to whom such

discovery material was produced, in writing, as soon as practicable. After receipt of such

notification, the Consenting Party to whom production has been made shall treat the designated

discovery material as Confidential or AEO subject to its right to dispute such designation in

accordance with Paragraph 15 below.

       12.     Effect on Attorney-Client Privilege and Work Product Immunity. This order

is entered subject to Federal Rule of Evidence 502(d).

               (a)       The production of privileged or work-product protected documents,

       electronically stored information (“ESI”) or information, whether inadvertent or otherwise,

       is not a waiver of the privilege or protection from discovery in this case or in any other

       federal, state, or private proceeding. This Protective Order shall be interpreted to provide

       the maximum protection allowed by Federal Rule of Evidence 502(d).

               (b)      The Producing Party must notify the Receiving Party promptly, in writing,

       upon discovery that a document containing privileged or work product material has been

       produced. Upon receiving written notice from the Producing Party that privileged or work

       product material has been produced, all such information shall be returned to the Producing

       Party within ten (10) business days of receipt of such notice, and the Receiving Party shall



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      Case 5:19-cv-00051-KDB-DCK Document 56 Filed 10/19/20 Page 5 of 14
      not use such information for any purpose until further Order of the Court. The Receiving

      Party shall also attempt, in good faith, to retrieve and return or destroy all copies of the

      documents in electronic format.

             (c)        The Receiving Party may contest the privilege or work product

      designation by the Producing Party, shall give the Producing Party written notice of the

      reason for the disagreement, and shall be entitled to retain one copy of the disputed

      document for use in resolving the dispute. However, the Receiving Party may not

      challenge the privilege or immunity claim by arguing that the disclosure itself is a waiver

      of any applicable privilege. In that instance, the Receiving Party shall, within fifteen (15)

      business days from the initial notice by the Producing Party, seek an Order from the Court

      compelling production of the material. If no such Order is sought, upon expiration of the

      fifteen (15) day period, then all copies of the disputed document shall be returned in

      accordance with this paragraph.

             (d)       Any analyses, memoranda or notes which were internally generated based

      upon such produced information shall immediately be placed in sealed envelopes and shall

      be destroyed in the event that: (a) the Receiving Party does not contest that the information

      is privileged; or (b) the Court rules that the information is privileged or work product. Such

      analyses, memoranda or notes may only be removed from the sealed envelopes and

      returned to its intended purpose in the event that: (a) the Producing Party agrees in writing

      that the information is not privileged or work product; or (b) the Court rules that the

      information is not privileged or work product.

      12.    Depositions.      In the case of deposition testimony, CONFIDENTIAL or

ATTORNEY EYES ONLY designations may be made during the deposition and in any event shall



                                                6

     Case 5:19-cv-00051-KDB-DCK Document 56 Filed 10/19/20 Page 6 of 14
be made within thirty (30) days after the final transcript has been received by counsel making the

designation and shall specify the testimony being designated confidential by page and line

number(s). The deposition testimony shall be treated as confidential until final designations are

made within thirty (30) days after receipt of the final transcript.

       13.     Protection of Confidential or AEO Information.              Documents designated

CONFIDENTIAL or ATTORNEY EYES ONLY under this Protective Order shall not be used or

disclosed by the parties or counsel for the parties or any other persons identified below for any

purposes other than preparing for and conducting this Litigation in which the documents were

disclosed (including any appeal).

       14.     Filing and Use at Trial. This Protective Order does not restrict or limit the use of

documents designated as Confidential or AEO at any hearing or trial. However, in the event a

party in this litigation or a third-party wants to file with or submit to the Court any document

designated as Confidential or AEO, that party shall first notify the designating party and attempt

to reach an agreement regarding filing or redaction of the Confidential or AEO information. If an

agreement cannot be reached as to presentation of the Confidential or AEO information, the party

seeking to file or use the document shall seek permission from the Court to file or submit said

information under seal with notice to the designating party.

       15.     Challenges to Designation as Confidential or AEO Information. In the event

counsel for the party receiving materials designated as CONFIDENTIAL or ATTORNEY EYES

ONLY objects to the designation, said counsel shall advise the party or non-party producing the

materials, in writing, preferably by electronic mail, of such objection and the reasons therefore.

Pending resolution of the dispute, all of the materials shall be treated as designated. Counsel will

attempt to resolve the dispute within five business days. If the dispute cannot be resolved among



                                                  7

      Case 5:19-cv-00051-KDB-DCK Document 56 Filed 10/19/20 Page 7 of 14
counsel, the party objecting to the designation of a document as CONFIDENTIAL or ATTORNEY

EYES ONLY may submit a motion objecting to such designation with the Court on timely notice

to all parties and applicable non-parties in order to provide an opportunity to object. The burden

to sustain the designation CONFIDENTIAL or ATTORNEY EYES ONLY is upon the designating

party. Nothing in this Order shall be construed as preventing any party from objecting to the

designation of any document as CONFIDENTIAL or ATTORNEY EYES ONLY, or preventing

any party or non-party from seeking further protection for any material it produces in discovery.

        16.     Scope of Discovery. This Protective Order shall not enlarge or affect the proper

scope of discovery in this Litigation or any other litigation, nor shall this Protective Order imply

that discovery material designated as CONFIDENTIAL or ATTORNEY EYES ONLY under the

terms of this Protective Order is properly discoverable, relevant, or admissible in this Litigation or

any other litigation.

        17.     Treatment on Conclusion of Litigation. The terms of this Protective Order shall

survive and remain in effect after the termination of this Litigation. The Consenting Parties shall

take such measures as are necessary to prevent the public disclosure of Confidential or AEO

Information, through inadvertence or otherwise, after the conclusion of this Litigation.

        18.     Return of Confidential or AEO Information. Following the termination of this

Litigation, whether by adjudication on the merits, settlement, or otherwise, upon request of the

Producing Party, all Confidential or AEO Information, and all copies thereof, all extracts,

tabulations and compilations, thereof, in any form whatsoever, shall be returned to counsel for the

Producing Party. Alternatively, the Consenting Parties may agree in writing upon appropriate

methods of destroying documents containing Confidential or AEO Information. The ultimate




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      Case 5:19-cv-00051-KDB-DCK Document 56 Filed 10/19/20 Page 8 of 14
disposition of Confidential or AEO Information is subject to a final order of the Court upon

completion of this Litigation.

       19.     Treatment of a Party’s Own Confidential Materials. Any Party may expressly

waive in writing the applicability of any provision of this Order to any of the Party’s own

CONFIDENTIAL or ATTORNEY EYES ONLY materials. The waiver will apply only to the

CONFIDENTIAL or ATTORNEY EYES ONLY materials, or to portions to which the

applicability of any provision of this Agreement is expressly waived. A partial waiver as to certain

CONFIDENTIAL or ATTORNEY EYES ONLY materials or portions does not constitute a

waiver as to the remainder of the CONFIDENTIAL or ATTORNEY EYES ONLY materials or

portions.

       20.     Order Subject to Modification.             This Protective Order shall be subject to

modification on motion of any Consenting Party or any other person who may show an adequate

interest in the matter to intervene for purposes of addressing the scope and terms of this Protective

Order. The Protective Order shall not, however, be modified until the Consenting Parties shall

have been given notice and an opportunity to be heard on the modification.

       21.     No Judicial Determination.         This Protective Order is entered based on the

representations and agreements of the parties and for the purpose of facilitating discovery. Nothing

in this Protective Order shall be construed or presented as a judicial determination that any specific

document or item of information designated as CONFIDENTIAL or ATTORNEY EYES ONLY

is subject to protection until such time as a document-specific ruling shall have been made.

       22.     Persons Bound. This Protective Order shall take effect when signed and filed by

counsel for the parties and shall be binding upon: (1) counsel who signed below and their

respective law firms; and (2) their respective clients.



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      Case 5:19-cv-00051-KDB-DCK Document 56 Filed 10/19/20 Page 9 of 14
        23.    Order Continuing.      This Order shall survive settlement, judgment, or other

disposition or conclusion of this action and all appeals therefrom and this Court shall retain

continuing jurisdiction in order to enforce the terms of this Order. The ultimate disposition of any

material produced hereunder shall be subject to a final order of the Court upon completion of the

litigation.

        SO ORDERED.



                                            Signed: October 19, 2020




                                                 10

     Case 5:19-cv-00051-KDB-DCK Document 56 Filed 10/19/20 Page 10 of 14
 WE CONSENT:

                              /s/ Christopher D. Tomlinson
                              Scott M. Tyler
                              N.C. Bar No. 23300
                              Christopher D. Tomlinson
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                              Attorneys for Defendants/Counterclaim/Third-Party
                              Plaintiffs




                                11

Case 5:19-cv-00051-KDB-DCK Document 56 Filed 10/19/20 Page 11 of 14
                  EXHIBIT A




                                12

Case 5:19-cv-00051-KDB-DCK Document 56 Filed 10/19/20 Page 12 of 14
                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                STATESVILLE DIVISION
                        CIVIL ACTION NO. 5:19-CV-051-KDB-DCK

                                   )
 EARTHKIND, LLC,                   )
                                   )
      Plaintiff/Counterclaim       )
      Defendant,
                                   )
 v.                                )
                                   )
 THE LEBERMUTH COMPANY INC. and ) ACKNOWLEDGMENT OF CONFIDENTIAL
 ROBERT M. BROWN,                  )       INFORMATION
                                   ) AND AGREEMENT TO ABIDE BY
      Defendants/Counterclaimants/ )     PROTECTIVE ORDER
      Third-Party Plaintiffs.      )
                                   )
 v.                                )
                                   )
 KARI WARBERG BLOCK,               )
                                   )
      Third-Party Defendant.       )
                                   )


       I, ________________________________________, hereby affirm that:

       Information, including documents and things designated as CONFIDENTIAL or

ATTORNEY EYES ONLY as defined in the Consent Protective Order (“Protective Order”)

entered in the above-captioned action, is being provided to me pursuant to the terms and

restrictions of the Protective Order.

       As a prior condition to me being permitted to receive, see, or review any Confidential or

AEO Information, I have been given a copy of the aforementioned Protective Order, I have read

it, and I agree to be bound by its terms.

       I understand that the Protective Order is a Court Order that is legally binding upon me. I

hereby agree to submit to the jurisdiction of the United States District Court for the Western

                                               13

     Case 5:19-cv-00051-KDB-DCK Document 56 Filed 10/19/20 Page 13 of 14
District of North Carolina for enforcement of any claimed violation of the terms of the Protective

Order or this Acknowledgement, and agree that such jurisdiction shall survive the termination of

this action.

        I agree not to use any Confidential or AEO Information disclosed to me pursuant to the

Protective Order except for purposes of the above-referenced litigation and not to disclose such

information to persons other than those specifically authorized by the Protective Order, without

the express written consent of the party who designated such information CONFIDENTIAL or

ATTORNEY EYES ONLY or by Order of this Court. I also agree to notify any stenographic,

clerical, or technical personnel who are required to assist me of the terms of this Protective Order

and its binding effect on them.

        I understand that I am to retain all documents or materials designated as Confidential or

AEO Information in a secure manner, and that all such documents and materials are to remain in

my personal custody until the completion of my assigned duties in this matter, whereupon all such

documents and materials, including copies thereof, and any writings prepared by me containing

any Confidential or AEO Information are to be returned to counsel who provided me with such

documents and materials.




                                              SIGNATURE


                                              PRINTED NAME

                                              ______________________________________
                                              DATE




                                                14

     Case 5:19-cv-00051-KDB-DCK Document 56 Filed 10/19/20 Page 14 of 14
